Case: 1:17-md-02804-DAP Doc #: 3555-31 Filed: 11/13/20 1 of 5. PageID #: 505830




                       EXHIBIT B
  Case: 1:17-md-02804-DAP Doc #: 3555-31 Filed: 11/13/20 2 of 5. PageID #: 505831
Baldacchino et al. BMC Psychiatry (2015) 15:134
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 ERRATUM                                                                                                                                          Open Access

Erratum: Neurobehavioral consequences of
chronic intrauterine opioid exposure in infants
and preschool children: a systematic review and
meta-analysis
Alex Baldacchino1*, Kathleen Arbuckle2, Dennis J Petrie3 and Colin McCowan4

Correction                                                                             Author details
                                                                                       1
                                                                                        Division of Neuroscience, Medical Research Institute, University of Dundee,
After publication of this work [1] we became aware that                                Ninewells Hospital and Medical School, Dundee DD1 9SY, UK. 2Division of
during our entry of raw data into the Complementary                                    Population Health Science, Medical Research Institute, University of Dundee,
Meta-Analysis (CMA) programme we transposed one of                                     Ninewells Hospital and Medical School, Dundee DD1 9SY, UK. 3Centre for
                                                                                       Health Policy, Melbourne School of Population and Global Health, University
the columns of data. This meant that the values generated                              of Melbourne, Victoria, Australia. 4Robertson Centre for Biostatistics, Institute
by all of the meta-analysis and results produced in the pub-                           of Health and Wellbeing, College of Medical, Veterinary and Life Sciences,
lished manuscript including those displayed Figures two to                             University of Glasgow, Boyd Orr Building, Level 11, Glasgow G12 8QQ, UK.

seven (Figures 1, 2, 3, 4, 5, 6 here) and Table four (Table 1                          Received: 17 November 2014 Accepted: 19 December 2014
here) were incorrect. We subsequently repeated the meta-
analysis and updated the Figures, Table and manuscript to
                                                                                       Reference
reflect the new results following this re-analysis.                                    1. Baldacchino A, Arbuckle K, Petrie DJ, McCowan C. Neurobehavioral
   The new conclusions of the paper show significant                                       consequences of chronic intrauterine opioid exposure in infants and
impairments, at a significance level of p < 0.05, for cog-                                 preschool children: a systematic review and meta-analysis. BMC Psychiatry.
                                                                                           2014;14:104.
nitive, psychomotor and observed behavioral outcomes
for chronic intrauterine opioid exposed infants and/or
preschool children compared to non-opioid exposed in-
fants and children. This is in contrast to a non signifi-
cant trend to poorer outcomes for chronic intrauterine
opioid exposed infants and/or preschool children that
we originally reported.
   We regret any inconvenience that this inaccuracy in
the data presented in the original manuscript might have
caused. We wish to thank Dr Egil Nygaard for bringing
this matter to our attention.
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  Case: 1:17-md-02804-DAP Doc #: 3555-31 Filed: 11/13/20 3 of 5. PageID #: 505832
Baldacchino et al. BMC Psychiatry (2015) 15:134                                                                                                                                                                                                                                                Page 2 of 4




    COGNITION: Opioid exposed infants compared to non-opioid exposed infants
    Study name                Subgroup with in study Outcome                                                    Statistics for each study                                                                                               Std diff in means and 95% CI

                                                                                         Std diff     Standard          Lower                            Upper
                                                                                        in means        error  Variance limit                             limit       Z-Value          p-Value

  Hunt et al (2008) 1.5 year sold                               BSID (Mental)              0.165        0.171         0.029           -0.169             0.500         0.968            0.333
  Bunkowski et al (1998) 1 year old                             GDS (DQ)                   0.527        0.216         0.047             0.104            0.950         2.440            0.015
  Moe et al (2002) 1 year old                                   BSID (Mental)              0.081        0.187         0.035           -0.285             0.447         0.435            0.663
  Hans et al (2001) 1 year old                                  BSID (Mental)              0.143        0.229         0.053           -0.306             0.593         0.625            0.532
  Hans et al (2001) 2 year sold                                 BSID (Mental)              0.321        0.231         0.053           -0.131             0.773         1.391            0.164
                                                                                           0.230        0.090         0.008             0.052            0.407         2.537            0.011

                                                                                                                                                                                                   -1.00                     -0.50                      0.00                   0.50              1.00



                                                                                                                                                                                                                 Favours opioid exposedi nfants                  Favours non-opioid exposed infants




 Figure 1 COGNITION: Opioid exposed infants compared to non-opioid exposed infants.




  PSYCHOMOTOR: Opioid exposed infants compared to non-opioid exposed infants
  Study name                 Subgroup within study         Outcome                                             Statistics for each study                                                                                                 Std diff in means and 95% CI

                                                                                         Std diff   Standard                 Lower       Upper
                                                                                        in means      error     Variance      limit       limit          Z-Value      p-Value


  Hunt et al (2008)           1.5 years old                BSID (Psychomotor)            0.176        0.171       0.029      -0.159       0.511           1.030        0.303


  Bunkowski et al (1998)      1 year old                   GDS (Locomotor)               0.687        0.218       0.048      0.259        1.115           3.144        0.002


  Moe et al (2002)            1 year old                   BSID (Psychomotor)            0.591        0.191       0.036      0.218        0.965           3.101        0.002


  Hans et al (2001)           1 year old                   BSID (Psychomotor)            0.224        0.230       0.053      -0.226       0.675           0.976        0.329


  Hans et al (2001)           2 years old                  BSID (Psychomotor)            0.548        0.233       0.054      0.090        1.005           2.347        0.019


                                                                                         0.425        0.091       0.008      0.246        0.604           4.654        0.000




                                                                                                                                                                                                 -2.00                      -1.00                      0.00                    1.00              2.00




                                                                                                                                                                                                             Favours opioid exposed infants                    Favours non-opioid exposed infants




 Figure 2 PSYCHOMOTOR: Opioid exposed infants compared to non-opioid exposed infants.




  BEHAVIOR: Opioid exposed infants compared to non-opioid exposed infants
  Study name          Subgroup within study    Outcome                                                              Statistics for each study                                                                                                  Std diff in means and 95% CI


                                                                                         Std ffid   Standard                   Lower            Upper
                                                                                        in means     error      Variance        limit            limit      Z-Value       p-Value

  Hunt et al (2008)    1.5 years old          Vineland Social Maturity Scale (VSMS)        0.365       0.172       0.030        0.028            0.701        2.122            0.034


  Hans et al (2002)    1 year old             Infant Behaviour Record (IBR) Attention      0.693       0.236       0.056        0.231            1.155        2.938            0.003


  Hans et al (2001)    2 years old            Infant Bahaviour Record (IBR) Attention      0.325       0.231       0.053        -0.127           0.777        1.409            0.159


                                                                                           0.438       0.119       0.014        0.204            0.671        3.679            0.000




                                                                                                                                                                                                         -2.00                  -1.00                     0.00                  1.00             2.00




                                                                                                                                                                                                                  Favours opioid exposed infants                 Favours non-opioid exposed infants




 Figure 3 BEHAVIOR: Opioid exposed infants compared to non-opioid exposed infants.
  Case: 1:17-md-02804-DAP Doc #: 3555-31 Filed: 11/13/20 4 of 5. PageID #: 505833
Baldacchino et al. BMC Psychiatry (2015) 15:134                                                                                                                                                                                                                                      Page 3 of 4




  COGNITION: Opioid exposed compared to non-opioid exposed preschool children
  Study name                 Subgroup within study                                                                  Statistics for each study                                                                                      Std diff in means and 95% CI

                                                                              Std diff        Standard                            Lower         Upper
                                                                             in means          error          Variance             limit         limit     Z-Value      p-Value

  Hunt et al (2008)          3 years old                   Mc Carthy            0.515          0.197           0.039              0.129         0.901       2.613       0.009

  Ornoy et al (2001/2003)    5 years old                   Mc Carthy            0.078          0.423           0.179              -0.752        0.907       0.184       0.854

  Moe et al (2002)            4.5 years old                Mc Carthy            0.111          0.385           0.148              -0.644        0.866       0.288       0.773

  Walhord et al (2007)        4.5 years old                Mc Carthy            0.000          0.414           0.172              -0.812        0.812       0.000       1.000

                                                                                0.329          0.151           0.023              0.033         0.625       2.180       0.029


                                                                                                                                                                                                -2.00                     -1.00                 0.00                  1.00              2.00




                                                                                                                                                                                                        Favours opioid exposed children                Favours non-opioid exposed children




 Figure 4 COGNITION: Opioid exposed compared to non-opioid exposed preschool children.




  PSYCHOMOTOR: Opioid exposed compared to non-opioid exposed preschool children
  Study name                Subgroup within study    Outcome                                                       Statistics for each study                                                                                      Std diff in means and 95% CI


                                                                               Std diff      Standard                   Lower        Upper
                                                                              in means        error       Variance       limit        limit      Z-Value   p-Value


  Hunt et al (2008)         3 years old              Mc Carthy Motor Scale      0.409         0.196        0.038         0.025        0.793       2.085     0.037


  Ornoy et al (2001/2003)   5 years old              Mc Carthy Motor Scale      0.370         0.151        0.023         0.074        0.667       2.446     0.014


  Moe et al (2002)          4.5 years old            Mc Carthy Motor Scale      0.722         0.193        0.037         0.345        1.100       3.749     0.000


                                                                                0.479         0.102        0.010         0.279        0.678       4.706     0.000




                                                                                                                                                                                        -2.00                     -1.00                     0.00                    1.00                2.00




                                                                                                                                                                                                  Favours opioid exposed children                  Favours non-opioid exposed children




 Figure 5 PSYCHOMOTOR: Opioid exposed compared to non-opioid exposed preschool children.




  BEHAVIOR: Opioid exposed compared to non-opioid exposed preschool children
  Study name                      Subgroup within study           Outcome                                                           Statistics for each study                                                                              Std diff in means and 95% CI

                                                                                          Std diff       Standard                                 Lower        Upper
                                                                                         in means          error                 Variance          limit        limit       Z-Value     p-Value

  Hunt et al (2008)               3 years old                     Vineland                0.969            0.205                  0.042           0.568         1.370           4.736    0.000
  Ornoy et al (2001/2003)         5 years old                     Achenbach               1.623            0.173                  0.030           1.284         1.962           9.385    0.000
                                                                                          1.351            0.132                  0.017           1.092         1.610       10.225       0.000

                                                                                                                                                                                                               -2.00              -1.00                    0.00              1.00        2.00



                                                                                                                                                                                                                  Favours opioid exposed children Favours non-opioid exposed children




 Figure 6 BEHAVIOR: Opioid exposed compared to non-opioid exposed preschool children.
    Case: 1:17-md-02804-DAP Doc #: 3555-31 Filed: 11/13/20 5 of 5. PageID #: 505834
Baldacchino et al. BMC Psychiatry (2015) 15:134                                                                                                                       Page 4 of 4




Table 1 Effect sizes and associated statistics for neurobehavioral domains in intrauterine opioid exposed infants and
preschool children compared to others who have no history of intrauterine opioid exposure during pregnancy
Neuropsychological          Studies¹     Effect size²     SE ³    N4     Lower limit5       Upper limit6      Q7      p for Q8     Z9      p for Z10     I² 11    Fail safe N12
domains*
INFANTS
Cognition                   4            0.23             0.09    251    0.05               0.41              2.97    0.56         2.54    0.01          0.00     4
Psychomotor                 4            0.43             0.09    251    0.25               0.60              5.36    0.25         4.65    0.00          25.41    25
Behavior                    3            0.44             0.12    145    0.20               0.67              1.59    0.45         3.68    0.00          0.00     8
PRESCHOOL
CHILDREN
Cognition                   3            0.33             0.15    224    0.03               0.63              2.19    0.53         2.18    0.03          0.00     0
Psychomotor                 3            0.58             0.15    224    0.28               0.88              6.36    0.09         3.78    0.00          52.84    31
Behavior*1                  2            1.31             0.33    160    0.67               1.95              5.96    0.02         3.99    0.00          83.21    np
1
 = Number of studies used to calculate effect size, 2= Cohen’s d effect size, 3= Standard Error, 4=Total number of subjects in opioid exposed cohort ,5= Lower limit of the
95% confidence interval for the effect size, 6= Upper limit of the 95% confidence interval for the effect size, 7= Q statistic: A test of homogeneity, 8= Probability that Q
statistics significantly diff than 0, 9= One sample Z Statistic, 10= Probability that Z Statistics, is significantly diff than 0, 11= I² statistics, 12= Fail Safe N: a measure of
publication bias, n/p= not possible since one needs more than 2 studies to perform this analysis, * All neuropsychological domains had fixed effects model
employed except *1 where a random effect model was employed.
